        Case 3:22-mj-07001-MAB Document 1 Filed 01/19/22 Page 1 of 1 Page ID #1



AO 91 (Rev. 11/11) Criminal Complaint


                                      UNITED STATES DISTRICT COURT
                                                                             for the
                                                                   District ofColumbia

                      United States ofAmerica                                   )
                                      V.                                        )
                                                                                )        Case No.
                CODY VOLLAN, (XX/XX/XXXX)                                       )
             ANTHONY CAROLLO, (XX/XX/XXXX)
             JEREMIAH CAROLLO, (XX/XX/XXXX)                                     )
                                                                                )
                                                                                )
                           Defendant(s)

                                                        CRIMINAL COMPLAINT
         I, the complainant in this case, state that the following is true to the best ofmy knowledge and belie£
On or about the date(s) of                         January 6, 2021                     in the county of __________ in the
                      in the District of     Columbia                      , the defendant(s) violated:
         Code Section              Offense Description                                               Defendant
         18U.S.C. § 1752(a)(l)-            Entering and Remaining in a Restricted Building      Defendant Cody Vollan
                                           or Grounds;                                          Defendant Anthony Carollo
                                                                                                Defendant Jeremiah Carollo

         18 U.S.C. § 1752(a)(l)-           Disorderly and Disruptive Conduct in a Restricted    Defendant Cody Vollan
                                           Building or Grounds                                  Defendant Anthony Carollo
                                                                                                Defendant Jeremiah Carollo
         40 U.S.C. § 5104(e)(2)(D)-        Disorderly Conduct in a Capitol Building;            Defendant Cody Vollan
                                                                                                Defendant Anthony Carollo
                                                                                                Defendant Jeremiah Carollo

         40 U.S.C. § 5104(e)(2)(G)-        Parading, Demonstrating, or Picketing in a Capitol   Defendant Cody Vollan
                                           Building                                             Defendant Anthony Carollo
                                                                                                Defendant Jeremiah Carollo




                  This criminal complaint is based on these facts:
          See attached statement of facts.
                                                                                                          Complaint's Signature
                  N Continued on the attached sheet.
                                                                                                        John Coleman, Special Agent
                                                                                                               Printed name and title

Attested to by the applicant in accordance with the requirements ofFed. R. Crim. P. 4.1
by telephone.                                                                                                                Digitally signed by G. Michael
                                                                                         G. Michael Harvey                   Harvey
Date:             01/14/2022                                                                                                 Date: 2022.01.14 12:57:45 -05'00'
                                                                                                                   Judge's signature

City and state:                            Washington, D.C.                               G. Michael Harvey U.S. Magistrate Judge
                                                                                                               Printed name and title
